         Case 1:18-cv-04361-AKH Document 131 Filed 02/05/19 Page 1 of 1
                        ALVIN K. HELLERS TEIN
                    UNITED STATES DISTRICT JUDGE
                    UNITED STATES DISTRICT COURT
                   SOUTHER N DISTRICT OF NEW YORK
                          500 PEARL STREET     ,_ -·                             === ,
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TO:          Concerned Parties                            ~DAT!        ~~/C f           =
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FROM:       Brigitte Jones, Courtroom Deputy             Date: 2/5/19
            by Order of Judge Alvin K. Hellerstein

In re: Novartis Litigation - 18 Civ. 4361 (AKH)


You are hereby notified that you are required to appear for an oral
argument.


                   Date : March 27, 2019
                   Time: 11:00 a.m.
                   Place: U.S. Courthouse - Southern District of New York
                           500 Pearl Street
                           Courtroom 14D
                           New York, New York 10007

It is ORDERED that counsel to whom this Order is sent is responsible for
faxing a copy to all counsel involved in this case and retaining verification of
such in the case file. Do not fax such verification to Chambers.



                                           So Ordered,


                                 {Jj _/4 .~~
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